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                UNITED STATES COURT OF APPEALS
                 DISTRICT OF COLUMBIA CIRCUIT




Human Rights Defense Center,
Appellant,

       v.
                                                Case No. 23-5236
United States Park Police,
 Appellee.



    STATEMENT OF INTENT T O USE DEFER RED JO INT
                    A PPENDIX


       Pursuant to Federal Rule of Appellate Procedure 30(c), D.C. Circuit Rule
30(c), and the Court’s October 19, 2023 Order, Plaintiff-Appellant states that it
intends to use a deferred joint appendix in this case.



Respectfully submitted,                     /s/ Deborah M. Golden
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Dated: November 20, 20223.
